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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF COLORADO




        UNITED STATES OF AMERICA
                                                                      20-CR-00305-DDD
                                       Plaintiff,
                                                                    PROPOSED ORDER
                                  v.                               RESTRICTING DKT 163

        MICHAEL AARON TEW,
        KIMBERLEY ANN TEW, and
        JONATHAN K. YIOULOS
                            Defendants.




          The Court has read and considered Defendant’s Motion to Restrict the document at [Dkt.

 163.

          Upon consideration and for good cause shown,

          IT IS ORDERED that Dkt. 163 is hereby restricted at Level 3 until further order of the

 court.

          IT IS SO ORDERED.



 ___________________________                        _______________________________________
 DATE                                               THE HONORABLE DANIEL D. DOMENICO
                                                    UNITED STATES DISTRICT COURT JUDGE




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 Presented by:

        /s/
 ______________________
 Tor Ekeland
 Attorney for Defendants Michael Tew and Kimberley Tew




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